MIE Case
    (Rev. 9/09)2:10-cv-14318-LPZ-MJH
                Order To Show Cause for Failure to Prosecute ECF   No. 4, PageID.8 Filed 02/03/11 Page 1 of 1



                                              UNITED STATES DISTRICT COURT
                                              EASTERN DISTRICT OF MICHIGAN

STEVEN LAINE,


                      Plaintiff(s),                                          Case No. 10-14318

v.                                                                           Honorable Lawrence P. Zatkoff

ZENITH ACQUISITION CORP.,


                      Defendant(s).
                                                                     /


                                                    ORDER TO SHOW CAUSE

               IT IS ORDERED that                                        PLAINTIFFS                      SHOW CAUSE,

in writing, by       FEBRUARY 17, 2011                , why the above-entitled case should not be dismissed for failure to

prosecute, pursuant to E.D. Mich. LR 41.2.



      February 3, 2011
Date: _________________________                                           s/Lawrence P. Zatkoff
                                                                          __________________________________________
                                                                          Lawrence P. Zatkoff
                                                                          U.S. District Judge




                                                        Certificate of Service

            I hereby certify that on this date a copy of the foregoing Order was served upon the parties and/or
counsel of record herein by electronic means or first class U.S. mail.


                                                                          _______________________________________
                                                                          S/MARIE E. VERLINDE
                                                                          Deputy Clerk
